        Case 4:20-cv-02798-HSG Document 230 Filed 01/26/24 Page 1 of 4




 1   Amy R. Levine (SBN 160743)
     DANNIS WOLIVER KELLEY
 2   200 California Street, Suite 400
     San Francisco, CA 94111
     Tel: 415.543.4111
 3   Email: alevine@dwkesq.com
 4   Stephen P. Berzon (SBN 46540)
     Stacey M. Leyton (SBN 203827)
 5   ALTSHULER BERZON LLP
     177 Post Street, Suite 300
 6   San Francisco, CA 94108
     Tel: 415.421.7151
 7   Fax: 415.362.8064
     Email: sberzon@altber.com
 8          sleyton@altber.com
     Kenneth D. Upton, Jr. (pro hac vice)
 9   AMERICANS UNITED FOR SEPARATION
     OF CHURCH AND STATE
10   1310 L Street NW, Suite 200
     Washington, DC 20005
11   Tel: 202.466.3234
     Email: upton@au.org
12
     Attorneys for Defendants
13
                                  UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15
       ELIZABETH SINCLAIR,                             Case No. 4:20-cv-02798-HSG
16     CHARLOTTE KLARKE,
       FELLOWSHIP OF CHRISTIAN
17     ATHLETES, an Oklahoma corporation,              STIPULATION STAYING
       and FELLOWSHIP OF CHRISTIAN                     PROCEEDINGS; ORDER
18     ATHLETES OF PIONEER HIGH
       SCHOOL, an unincorporated association,
19
                         Plaintiffs,
20       v.
21     SAN JOSE UNIFIED SCHOOL
       DISTRICT BOARD OF EDUCATION,
22     in its official capacity, NANCY
       ALBARRÁN, in her official and
23     personal capacity, HERBERT
       ESPIRITU, in his official and personal
24     capacity, PETER GLASSER, in his
       official and personal capacity, and
25     STEPHEN MCMAHON, in his official
       and personal capacity,
26                      Defendants.
27

28

                                       STIPULATION AND ORDER
        Case 4:20-cv-02798-HSG Document 230 Filed 01/26/24 Page 2 of 4




 1            Plaintiffs ELIZABETH SINCLAIR, CHARLOTTE KLARKE, FELLOWSHIP OF

 2   CHRISTIAN ATHLETES, FELLOWSHIP OF CHRISTIAN ATHLETES OF PIONEER HIGH

 3   SCHOOL, Defendants SAN JOSE UNIFIED SCHOOL DISTRICT BOARD OF EDUCATION,

 4   NANCY ALBARRÁN, HERBERT ESPIRITU, PETER GLASSER, STEPHEN MCMAHON

 5   submit the following stipulation, and ask that the Court enter this stipulation as an order of the

 6   Court.

 7                                                RECITALS

 8            1.    On September 13, 2023, the United States Court of Appeals for the Ninth Circuit

 9   issued its judgment in the appeal of this Court’s order denying a preliminary injunction.
10            2.    On October 5, 2023, the mandate of the United States Court of Appeals for the
11   Ninth Circuit pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure issued in this
12   action. ECF 224.
13            3.    On October 24, 2023, this Court entered an order, pursuant to stipulation, that the
14   case be stayed until December 31, 2023 or until one of the parties notified the Court that it no
15   longer believes settlement discussions will be fruitful.
16            4.    On December 14, 2023, this Court entered an order, pursuant to stipulation, that the
17   case be stayed until January 31, 2024 or until one of the parties notified the Court that it no longer
18   believes settlement discussions will be fruitful.
19            5.    The parties continue to discuss settlement and have agreed that it would therefore be
20   appropriate to stay this action until February 29, 2024, or so long as the parties continue to agree
21   that discussing the possibility of settlement is appropriate.
22                                          STIPULATION
23            Based on the above, IT IS HEREBY STIPULATED, by and between the parties to this
24   action that this action should be stayed until February 29, 2024, or until plaintiffs or defendants
25   notify this Court that they no longer believe settlement discussions will be fruitful.
26            IT IS SO STIPULATED.
27

28
                                                    -3-
                                      STIPULATION AND ORDER
        Case 4:20-cv-02798-HSG Document 230 Filed 01/26/24 Page 3 of 4




 1   DATED: January 26, 2024                 ALTSHULER BERZON LLP

 2
                                             By: /s/ Stacey M. Leyton
 3
                                                       STACEY M. LEYTON
 4
                                             Attorneys for Defendants
 5

 6
     DATED: January 26, 2024                 THE BECKET FUND FOR RELIGIOUS
 7                                           LIBERTY

 8
                                             By: /s/ Daniel H. Blomberg
 9                                                    DANIEL H. BLOMBERG

10                                           Attorneys for Plaintiffs

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                             -4-
                               STIPULATION AND ORDER
        Case 4:20-cv-02798-HSG Document 230 Filed 01/26/24 Page 4 of 4




 1                                                  ORDER

 2           Having considered the Stipulation filed by the parties, and good cause appearing therefore,

 3   the Court hereby orders that the case shall be stayed until February 29, 2024, or until one of the

 4   parties notifies the Court that the stay should be lifted.

 5           PURSUANT TO STIPULATION, IT IS SO ORDERED.

 6

 7   DATED: 1/26/2024

 8

 9
10                                                 ��������������������������������������������������������������������
                                                   THE HONORABLE HAYWOOD S. GILLIAM, JR.

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                    -5-
                                      STIPULATION AND [PROPOSED] ORDER
